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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


KELLY PRICE,
                                                            15-cv-5871 (KPF)
                                       Plaintiff,
                                                       [PROPOSED] ORDER
                       vs.                          AMENDING THE CIVIL CASE
                                                     MANAGEMENT PLAN AND
CITY OF NEW YORK, ET AL.,                             SCHEDULING ORDER
                                    Defendants.




       It is hereby:

       ORDERED, upon motion of the parties, that paragraph 7.e. pf the Case
Management Plan and Scheduling Order, dated March 18, 2019 (“Case Management
Order”) is revised to amend the date for completion of fact discovery to November 19,
2019; and it is further

      ORDERED that all other provisions of the Case Management Order remain
unchanged.



Dated: New York, NY

       ____, 2019


                                                    Hon. Katherine Polk Failla
                                                    United States District Judge
